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    Read Houston Mayor John Whitmire's full
    inauguration speech
    By Elizabeth Sander, Yilun Cheng , Staff writers
    Jan 2, 2024




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    Ailyn Perez, and Dylan Zhong, 9, are shown during the City of Houston Inauguration Day event held at the
    Wortham Center Tuesday, Jan. 2, 2024, in Houston. Perez, a soprano with the Houston Grand Opera, sang
    the National Anthem. Zhong, an honor student at WoodCreek Elementary, lead thePledge of Allegiance.
    Melissa Phillip/Staff Photographer




    Houston Mayor John Whitmire delivered his inaugural speech on Tuesday,
    highlighting issues from public safety to crumbling infrastructure to affordable
    housing. A transcript of his speech can be found below. It has been lightly edited for
    clarity.


    If I can manage a city half as well as I picked out the program today, we’ll be in great
    shape. The program was designed to show the amazing diversity and talent of the
    city of Houston. Where else in America would you have a justice of the peace – the


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    people’s court – swear in the mayor of the fourth largest city?


    Judge Victor Trevino comes from a long line of public servants who have helped
    make Houston the great city that it is. Everyone should be smiling this morning
    because the people of Houston are smiling, because they've elected a mayor who is
    going to listen to them, a mayor who is known for solving problems. And that's why
    it's exciting to be here today.


    I have individuals I'd like to thank. I could use all my allotted time if I went through
    the list – Houstonians who have been so nice and generous to me during the
    campaign. I want to thank the council members and our city controller for their
    willingness to be public servants. I know the sacrifices that you give, what it does to
    your family. But I applaud your willingness to serve and the diversity on council.
    We're going to come together and make a real difference.


    The only reason I ran was to make a difference. That's the reason I'm here this
    morning, to make a difference, to make this great city greater.


    Obviously, I must thank my two daughters. They have been reared by their mother
    and a father who’s been in public office their whole lives – not just their adult lives –
    since they were born. It's been such a blessing. And I've got more plaques and
    awards than I can place on the wall, but my greatest accomplishment that I'm most
    proud of is two productive young ladies who are making contributions on their own –
    Sarah and Whitney Whitmire. So proud.


    During the campaign, at campaign forums, I’d get very passionate about my love for
    this city. I went to high school here, then the University of Houston. I've had the
    honor of representing constituents here for 51 years. I get very passionate, and I’d
    often say, “I can't wait. I wish I could go to work in the morning.” Well, ladies and
    gentlemen, it's morning time, so let’s get started.
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    We have a great city and great people. I could spend the whole program talking
    about our greatness. The nation will be coming here next week for the national
    championship. They will highlight Houston. They'll talk about our great med center,
    our port, our space port, our sports teams. And then they're going to talk about our
    people.


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    We’re recognized worldwide as the most diverse city, probably in the world. It’s
    something that we're all so proud of. I do want us to practice that diversity. As
    Michael Gott sang, we are all one. We have our unique neighborhoods, our nations
    of origin, our customs, our religions, our sexual orientations, but I present the
    opportunity to lead this city as one.


    When I was approached by Houstonians to run for mayor, they said, ‘Whitmire, you
    can unite this city,’ and that's what I intend to do.”


    Now, like most major cities, we have our challenges. I could spend the morning
    listing them: public safety, infrastructure, city services that could be better, city
    financial issues that we can no longer kick down the road to address, the homeless
    issue. When you leave this beautiful building, go a block, turn right, go a block and
    you’ll see homeless people. The city has done a good job, but we must do better. The
    homeless deserve our attention, and we've got to address that. It involves criminal
    justice and mental health. We have to prioritize it.


    Affordability. It's the goal of Houstonians to own homes. We cannot waste our
    resources at the housing authority or the housing department. We've got to reach
    out. I applaud our justices of the peace in the county who now are helping folks have
    legal representation before they’re evicted.


    Infrastructure. We've got to be creative. We've got to partner with the county, which
    we will. I’m already in discussions with commissioners who are willing to work in
    their precinct and share the costs for city streets. We must do more with Metro. We
    can ask Metro to partner with us to improve the streets that their buses tear up.


    There are so many other things that we can do, but my number one priority and the
    priority of Houstonians is public safety. If we do not address public safety, the other
    quality of life issues will not matter. I want you to know that Houstonians are

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    concerned, and the first solution to solving the problem is acknowledging you have
    one. And I know what the stats say. I know they're heading in the right direction
    from last year, but one year’s stats does not explain the fullness of the problem.


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    Of course, we've got to increase the number of officers on the street. I’ll commit
    myself to recruiting. We have officers in Austin and Seattle who have contacted me
    and are willing to transfer to Houston. We've got to make HPD open its doors to
    other officers from other agencies.


    We make it so difficult for people to join HPD. We have cadets that are required to
    purchase a revolver. A service revolver costs $1,000. After we recruit someone, and
    they move to Houston, they have to finance the cost of that revolver. That's their
    introduction to the department. I will get the police foundation and others to give
    them that revolver.


    And public safety also means firemen. I will meet with the firemen tomorrow to
    begin negotiations to get them and the city out of court. It can be done. It must be
    done. You do not sue your first responders in John Whitmire’s administration.
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    We will work with our judges. I will be very outspoken. The backlog has been
    reduced, but this morning there are 1,900 people waiting to go to court for murder or
    capital murder charges, to be held accountable or found innocent. The problem is
    half of them are either on bond or fugitives; 900 are on the streets of Houston. That’s
    a small group that is raising havoc that you see on the 10 o’clock news. We’ve got to
    address that.


    We’ve got to have reliable garbage picked up. Mine’s been in front of my house for a
    week. I thought surely, surely. But that’s the reality. And we live in a great city. Great
    cities do not have those issues.


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    We’re not going to kick the can down the road. We’re going to handle the finances.
    We’re going to reach across the aisle. We’re going to be very creative in working
    with the county.


    We're gonna reach across the aisle and work with Austin. Houston can get greater
    resources at the land commissioner office under my leadership because Dawn
    Buckingham, a former Senate colleague, has already said let’s sit down and improve
    relationships.




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    County officials have great responsibility. We have friends there. But I want to
    remind the county that we're in Harris County this morning. The old model for county
    services and the sheriff’s office starting at the city limits of Houston is backdated to
    Squatty Lyons’ days, if any of you remember Squatty Lyons.


    So back to public safety. The first thing I did after I was sworn in at 12:01, because I
    didn’t waste any time, was ride with Chief Finner. I wanted our first responders to
    know that I care, and Houstonians care. I was representing Houstonians in saying
    “Thank you, first responders, for putting your life on the line.”


    They are already improving their production -- you can see it in their eyes. They
    want to work for Mayor Whitmire, and Houston will benefit from that. Our
    firefighters too. When I made a call with Chief Finner, firefighters were there. And
    don’t forget our municipal employees. Thank you municipal employees who keep our
    offices going.


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    Back to public safety – collaboration. We have 80 plus agencies in the city of
    Houston. They don’t talk to each other. They can’t even talk to each other on police
    radios. So Chief Finner is already showing leadership that I respect and like and
    encourage. On Thursday morning at 10 o'clock, he's already having a meeting. And
    he and I will meet with other law enforcement agencies to divide the city and see
    that no community is going unprotected. That's what leadership is about. And that’s
    what I and this council will provide for you.


    We can’t do it alone. We need the support of Houstonians. Everywhere I go now
    people say, “How can I help you?” You can help us by supporting us, giving us your

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    ideas. I want to listen to the citizens of Houston. I will be on the first floor of City Hall
    today at two o'clock to meet and greet, listen and learn what people's concerns are.


    One of them actually called my son-in-law this morning. The city of Houston, as a
    courtesy, told him that he used four times as much water in December as he did in
    November. They just want him to know he has got a $1,000 water bill. People need
    to know where to go.


    Flooding – that comes under infrastructure. And it’s not only preparation for Harvey,
    but also having sufficient first responders, a recovery czar and other people in place.
    I want to address with council the drainage because there hasn't been enough
    maintenance to the drainage system. You know it, I know it. You know what
    thoroughfares you can’t travel. That has to be corrected. But we have to do it
    together.


    We're all public servants. Each and every one of you who can hear my voice –
    whether you’re on the ballot or not. You're a public servant. Whether you’re on the
    ballot or not. And I think someday we’re going to be judged: What did you do with
    your public service?


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    We need you at the city of Houston, your support, your prayers. And like I said, there
    is much to do. I have no patience, no time to waste. I’m willing to give the next eight
    years, of the remaining best years of my life, to public service on behalf of the city of
    Houston. So let me just say in closing, it’s time for us to go to work.


    Thank y’all. Let’s go to work.
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